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                       EXHIBIT G
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU

          SDN LIMITED and STEVEN NERAYOFF,

                                             Plaintiffs,                      Index No. 607805/2024

                                 v.                                           Motion Sequence No. 1

          IOV LABS LIMITED, RIF LABS LIMITED, RSK
          LABS LIMITED, DIEGO GUTIERREZ ZALDIVAR,
          and ALEJANDRO MARIA ABERG COBO a/k/a ALEX
          COBO,

                                             Defendants.


                AFFIRMATION OF JOHN PISKORA IN SUPPORT OF MOTION TO EXTEND
                      PLAINTIFFS’ TIME TO COMPLETE SERVICE OF PROCESS

                JOHN A. PISKORA, an attorney duly admitted to practice law in the Courts of the State

         of New York, affirms as follows under penalties of perjury pursuant to CPLR 2106:

                1.      I am a partner of Loeb & Loeb LLP, attorneys for Plaintiffs SDN Limited and

         Steven Nerayoff in this action. I am fully familiar with the matters set forth herein, and respectfully

         submit this affirmation in support of Plaintiffs’ motion, pursuant to CPLR 306-b, for the entry of

         an Order enlarging the time for Plaintiffs to complete service of process upon the foreign

         Defendants for an additional 120 days.

                2.      On May 3, 2024, Plaintiffs commenced this action for fraud, aiding-and-abetting

         fraud, and rescission arising from Defendants’ material misrepresentations made in connection

         with the offering and sale of RIF tokens (a digital token). See NYSCEF Doc. No. 1.

                3.      All Defendants in this action reside outside of the United States and are residents

         of Gibraltar (IOV Labs and RIF Labs), British Virgin Islands (RSK Labs), Argentina (Mr.

         Zaldivar), and Uruguay (Mr. Cobo). Apart from Defendant Cobo, service upon the remaining




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         Defendants must be made pursuant to the Hague Convention on the Service Abroad of Judicial

         and Extrajudicial Documents in Civil or Commercial Matters (the “Hague Convention”), or other

         conventional means pursuant to the CPLR.

                        4.      The Hague Convention generally provides for service in signatory countries

         via a request for service made to that country’s Central Authority (“Formal Hague Convention

         Service”).

                        5.      Signatory countries may also authorize direct service upon a Defendant by

         mail. In compliance with the Hague Convention, as applicable to Gibraltar, Plaintiffs served IOV

         Labs (f/k/a RIF Labs) and RSK Labs by mail on August 16, 2024.

                        6.      Separately, on July 26, 2024, Plaintiffs served RSK Labs through Raul

         Laprida, an officer and/or director of the company. See NYSCEF Doc. No. 2.

                        7.      In addition to the foregoing, and for an abundance of caution in certain

         instances, Plaintiffs have also undertaken Formal Hague Convention Service via service requests

         to applicable Central Authorities with respect to the corporate Defendants and Defendant Zaldivar.

         More specifically, Plaintiffs have retained a process serving company that specializes in Formal

         Hague Service and sent completed USM-94 Requests for Service Abroad of Judicial or

         Extrajudicial Documents, with copies of the case initiation documents and any necessary

         translations, upon the central authorities for Gibraltar, the British Virgin Islands, and Argentina.

         Although these service documents were delivered to the applicable Central Authorities for these

         countries in July 2024, we have been informed that the completion of service by the Central

         Authorities and delivery of proof of service may take up to an additional 120 days. See Exhibit

         1, a true and correct copy of the Affirmation of Maria J. Gutierrez dated August 21, 2024.

                        8.      Finally, Defendant Cobo is, upon information and belief, a resident of

         Uruguay.     Uruguay is not a signatory to the Hague Convention. Plaintiffs unsuccessfully

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         attempted to serve Mr. Cobo in Florida. See Exhibit 2, a true and correct copy of the Affidavit of

         Non-Service upon Mr. Cobo. Given the foregoing, Plaintiffs are undertaking to serve Mr. Cobo

         personally in Uruguay.

                I affirm this 21st day of August, 2024, under the penalties of perjury under the laws of New

         York, which may include a fine or imprisonment, that the foregoing is true, and I understand that

         this document may be filed in an action or proceeding in a court of law.

         Dated: New York, New York
                August 21, 2024
                                                      By:
                                                            John A. Piskora (jpiskora@loeb.com)
                                                            Loeb & Loeb LLP
                                                            345 Park Avenue
                                                            New York, NY 10154
                                                            Tel: (212) 407-4000

                                                            Attorneys for Plaintiffs
                                                            SDN Limited and Steven Nerayoff


                       Certificate of Compliance with Rule 17 of 22 NYCRR § 202.70(g)

                I hereby certify that the number of words in the foregoing affirmation, according to the

         word count on the word processing program utilized, exclusive of the caption, signature block and

         this certificate of compliance, is 585.

         Dated: New York, New York
                August 21, 2024
                                                      By:
                                                               John A. Piskora




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